Case 19-70013 Document 27 Filed in TXSB on 02/14/19 Page 1 of 16

SHR ene marc CL

Debtorname § Bay Area Regional Medical Center, LLG

United States Bankruptcy Court for lha: SOUTHERN DISTRICT OF TEXAS : |

 

 

 

Case number 19-70013 EC] Check If this ts an
(H known) amended filing
Official Form 206A/8
Schedule A/B: Assets -- Real and Personal Property 12/165
Sapererrenenemenennnnnnntnenner en en emrermnennnenermnEm nnn ee TT TT A TE aD

Disclose all property, real and personal, which the debtor owns or In which the debtor has any other legal, equitable, or future
interest, Include all property In which the debtor holds rights and powars exercisable for the debtor's own benefit. Also
Include assets and properties which have no book value, such as fully depreciated assets or assots that were not capltalized.
In Schedule AJB, list any executory contracts or unexpired leases, Also list them an Schedule G; Execwlory Contracts and
Unaxpired Leases (Officlal Form 208),

Be as complete and accurate as possible, If more space is needed, altach a separate sheet to this form. At the top of any
pages added, write fhe dabtor's name and case number (if known), Also Identify the form and [ine number to which the
additional information applies, Ian additlonal sheot is affached, Include the amounts from the attachment In the total for the

pertinent part.

For Part 1 through Part 11, dist cach asset under the appropriate category or attach separate supporting schedules, such as a
fixed asset schedule or depreciation schedule, that gives the detalls for each assot in a partloutar category, List each assat
only once, in valuing the debtor's Interest, do nat deduct the value of secured claims, See the Instructions to understand the

terms used it this form,

Cash and cash equivalents

4. Poes the debtor have any cash or cash equivalents?

Cl No. Go to Part 2.
fy] Yes. Fillin the Information below.

 

 

 

Alf cash or cash equivalents owned or controlled by the debtor Current value of
debtor's Interest

2, Cash on hand $0.00

 

3. Checking, savings, money market, or financial brokerage accounts (Idantlify all}

 

 

Name of institullon (bank or brokerage firm) Type of account Last 4 digits of
account number
3.1, Capltal One (Accounts Payable) Checking account 6 3 8 O Unknown
3.2, Capltal Ono (Payroll) Chocking account 8 6 2 6 $19,813.77
3.3. Capital One (Non-government
payor deposits) Checking account 8 6 8 & $68,688.16

 

3.4, Green Bank
{Patient Payments vila Chock) Checking account 3.6 4 7 $14,000,00

4, Othercash equivalents — {identify all}
Name of Institutlon (bank or brokerage flim)

& Total of Part 4
Add jinas 2 through 4 (including amounts on any additional sheets). Copy fhe total fo Ine 80.

 

$89,601.92

 

 

 

?

Officlal Form 206A Schedule AIB: Assets -- Real and Personal Property : page 1

 
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Dabtor Bay Area Regional Medical Canter, LLC Case number (if known) _19-70043

Neme

etd Deposits and prepayments

 

8. Does the debtor have any deposits or prepayments?

vi No, Go to Par 3.
Oi Yes. Fit In the information below,

7. Deposits, Including security deposits and utillty daposits
Description, Including name of holder of daposlt

8, Prepayments, Including prapayments on executory contracts, leases, Insurance, taxes, and rent
Dasoription, including name of hotder of prepayment

9, Total of Part 2.

Current value of
dobtor's Interest

 

 

 

 

 

 

 

 

 

 

 

Add lines 7 through 8, Copy the tolal to line 81, $0.00
Accounts recelvable
40. Does the dabtor have any accounts racelyable?
[1] No. Goto Part 4. |
wy Yes. Fill in tha Information batow.
Current valus of
debtor's Interest
14. Accounts receivable
1ta. 90 days old ortess: _- $0.00 - $0.00 SS peseyssecves DP $0.00
face amount doublful or uncolisctible accounts
4ib, Over 90 days old: $107,989,896,00 ~ $103,858,114.00 FS sevsessrenses DP $4,931,782.00
faca amount doublful or uncoillectible accounts
42, TotalofPart3 "
Currant value on lines 14a + 14b = fine 12. Copy the total te ine 82. nem 134,782.00,
Investments
13. Dogs tha debtor own any Investments?
C1 No. Goto Par 6,
fv] Yes. Fill In the information batow.
' Valuation method Current vatue of

used for current value
44, Mutual funds or publicly traded stooke not included In Part 1
Name of fund or stogk:

16. Non-publlely traded stock and Interaate Ih Incorporated and unincorporated
businesses, Including any Interest In an LLC, partnership, or Joint venture

debtor's Interest

 

 

Namo of entity: % of ownership:
48.1, Texas Gulf Coast Medical System, Inc. 400% $0.00
16.2, Texae Gulf Coast Medical Group, LLC 400% $0,00
Official Form 206A/8 Schedule A/B: Assets -- Real and Personal Property page 2

 
Case 19-70013 Document 27 Filed in TXSB on 02/14/19 Page 3 of 16

+

bebtor “Bay Araa Regional Medical Center, LLC Case number (if known) _19-70013
Name

48, Government bonds, corporala bonds, and other negotiable and
non-negotlable Instruments not Included In Part 4

 

 

 

 

Daserlbe:
47, Total of Part 4 $0.00
Add ines 44 through 16. Copy the tolal to fine 63. rt

 

Be tnventory, excluding agriculture assets

48, Does the debtor own any Inventory {excluding agriculture aasets)?

Go No, Go to Part 6.
i Yes. Fill in the Informatton below,

General desoription Date of the Netbook value of Valuation method Current value of
. , last physical debtor's interest used for current value debtor's interest
Inventory (Where available)

48, Raw materials . MMIODNNYYY
20. Work In progress

21. Finished goods, including goods held for resale

92, Other inventory or supplies

Medical Supplies
(Porlshabie property: saline
solution and other ..’

time stamped supplies

 

 

 

are perishable) 01/08/2018 $6,636,289,00 Debtor's estimate $1,000,000.00

Administrative Supplies Unknown Debtor's estimate $26,000.00
23, TotalofPartS’

Add lines 19 through 22, Copy the total to line 84. $1,025,000.00

 

 

 

24, Is any of the property listed In Part & parishabio?

 

[] No "4

Mi Yes ,
25, Has any of the property lIsted In Part § been purchased within 20 days before tho bankruptcy wae filed?

I No ‘

[ Yes. Book value | Valuation method Current value
26, Has any of the property listed In Part 5 been appraised by a professional within the last year?

ww Ne

CD ¥es

/

Eu Farming and fishIng-related assets (other than titled motor vehicles and land)

27, Does the debtor own of lease any farming or fishing-rolated aagots (othor than tiled motor vehicles and fand)?

fe] No. Goto Part 7.
[1] Yes. Fill In the information batow.

General description |. Net book value of Valuation method Current vaiue of
: debtor's Interest used for current vatue debtor's Interest
. (Where avallable)
28. Cropa--alther planted or harvested

29. Farm animals Examp/es: Livestock, poullry, farm-ralsed fish

Official Form 206A/B ; Schedule AB: Assets ~ Real and Personal Proporty page 3
Case 19-70013 Document 27 Filed in TXSB on 02/14/19 Page 4 of 16

Debtor Bay Area Regional Medical Ceriter, Lic Gase number (if known) _ 19-70013
Nema ee ee

30. Farm machinery and equipmont (Other than titled motor vahicles}
$1. Farm and fishing supplies, chemicals, and feed
92, Other farming and fishing-related property not already listed in Part 6

 

 

33, Total of Part &. . $0.00
Add lines 28 through 32, Copy the tolal to fine 86. ee

 

 

 

 

34. Is the debtor a member of an agricultural cooperative?
i No ,
LO Yes. te any of ha debtor's property slored al the cooperative?
(cj No
[) ves
36. Has any of the property listed In Part 6 baan purchased within 20 days before the bankruptcy was filed?
fy No ,
[ Yes. Book value Valuation method Current value

tte
38, {3 a deprociation schedule avallable for any of tho property listed In Part 6?

Bi No
Tj Yes

37. Has any of the properly Ilatad in Part 6 been appralsed by a professional withtn the last year?

i Ne
Cl Yes

| part 7: Relue furniture, fixtures, and equipment; and collectibles

38, Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

fi No. Go to Pan 8.
[Tj Yes. Fill in the information below.

Genoral description Netbook value of Valuation method Currant value of
debtor's Interest uaod for current value debtor’s interest
: (Where avallable)

39, Office furniture

49, Offlea fixtures

41. Office equipment, including all computer equipment and
communication systems equipment and software

42. Collectibles Exampies: Antiques and figurines; paintlags, prints, of other
artwork: books, pictures, or other arl objects; china and cryalal; stamp, ovin,
or baseball card collections; other collactions, memorabliia, or collectibles

 

43, Total of Part 7,

Add iines 39 through 42, Copy the (otal (o tine 86, $0.00

 

 

 

44, la a dapreciation schedule avaliable for any of the property listed In Part 77
Mi Ne ‘
E] Yes
45. Has any of the proporty ilsted In Part 7 keen appralsed by a professional within the last yoar?
No
( Yes

Be Machinery, equipment, and vehicles

46, Doos the debtor own or tease any machinery, equipment, or veilolas?

No. Go ta Part 9.
0 Yes, Fil In the Information below.

Offtelal Form 2064/3 Schedute A/B: Assets ~ Real and Personal Property page 4
Case 19-70013 Document 27 Filed in TXSB on 02/14/19 Page 5 of 16

 

Deblor Bay Area Reglonal Medical Center, LLC Case number (if known) _ 19-70013
Nome
General description Netbook value of Valuation method Gurrent value of
Include year, make, model, and identification numbers dabtor's Interest usod for current value debtor's interest
{Le., VIN, HIN, or N-number) {Where available)

47, Automobdites, vans, trucks, motorcycles, trallers, and titted farm vontcies

43. Watercraft, trallore, motors, and related accessories Examples: Boats
trailers, motors, floaling homes, personal watercrafl, and fishing vessels

49, Alroraft and accessories

80, Other machinery, flxtures, and equipment (excluding farm
machtnory and equipment}

 

81. Total of Parts,

Add Ines 47 through 60. Copy the tolal to line 87. $0.00

 

 

 

82, Is a depreciation schedule avaltable for any of the property listed In Part 97

fi No
[] Yes

83. Haa any of tho proporty listed in Part 6 been appralsed by a professional within the fast year?

fy Ne
Ci Yes

Real property

54, Deas the debtor own or lease any real proparty?

[J No. Go to Pari 10,
DD Yes. Fill in the information batow,

 

85, Any bullding, other Improved real estate, or tand which the debtor owns or in which the debtor hay an interest

Daserlption and location of property Nature and extent Netbook value of Valuationmethod = Current value of
Includa street address or other description of debtor's Interest debtor's interest used for current debtor's interest
stich as Assessor Parcel Number (APN), jn proparty (Whore available) value
and type of property {for example,

aoreage, factory, warehouse, apartment of

offlea bullding), if available,

 

88, Total of Part 9.

Add the current value on lines 65.1 through 56.8 and anires from any addilional sheets. Copy the total to line 88. $0.00

 

 

 

67, Is a dapreclation schedule available for any of the property listed in Part 9?

(7 No
i Yes -J
58. Has any of the proparty ilsted in Part 9 bean appralsed by a professional withtn tho last year?
fy] No
CD Yes .

intangibles and Intellectuat Property

59, Does the debtor have any Interests In Intangibles or intetlectual property?

No. Go to Part 11:
["] Yes. Fill in the Information batow,

Offtolal Form 2064/8 . Schedule A/B: Assets - Real and Personal Proparty page 6
Debtor Bay Area Reglonai Madival Genter, LLC Case numbar (if known)
Name
Genera! desoription Netbook valueof Valuation method

60,
61,

§2,
63.
64.
65,
66.

a7.

6a.

69.

Case 19-70013 Document 27 Filed in TXSB on 02/14/19 Page 6 of 16

 

debtor's interest used for current value

' (Where avallabla)
Patents, copyrights, trademarks, and trade secrats

Internet domain names and websites

Licenges, franchises, aid royatiles

Customer ists, mailing tists, or other compliations
Other Intangibles, or Intellectual property
Goodwill

Total of Part 10. .
Add Ines 60 through 65. Copy the total fo fine 89.

49-70013

TTT EG

Current value of
debtors interest

 

 

$0.00

 

 

Do your lista or records Include personally identifiable Information of customers (as defined In 14. U.S.C. §§ 101(41A) and 107)?

{yj No
(1) Yea .

Is there an amortization or other similar schedule avallable for any of the property listed tn Part 10?

[7 No

TD Yes

Has any of the property listed in Part 40 boon appraised by a profasstonai within the last year?
fa] No ’

[I Yes

All other assets

70,

71,

72,

73.
74,
75.

Dees the debtor own any other assets that have not yet been reported on this form?
Include all Interests in exeoutory contracts and unexpired {eases nol previously reported on this form.

No, Go to Part 12,
Mw Yos. Fill in {ite Information below.

Notes tecelvable

Desariplion (Include name of obligor)

Tax refunds and unused net operating losses (NOLS)

Description (for example, federal, state, looal)

Potential refund for overpayment of

State of Texas sales tax Tax year

Interests In insurance policies or annuities
Causes of actlon against third parties (whother or not a lawauilt has been fitted)

Other contingent and unliquidated claims or causes of action of ovary nattire,
Inctuding counterclalms of the debtor and rights to sat off claims

Potential claim against Cerner Health
Services, Inc.
Amount: to be determined

Nature of clalm Fraud/breach of contract
Amountrequested -.

 

Offlotal Form 206A/8 , Schedule AB: Assets -- Real and Porsonal Property

Current value of
dabtor's interest

. $850,000.00

Unknown

page 6
Case 19-70013 Document 27 Filed in TXSB on 02/14/19 Page 7 of 16

v

Debtor Bay Area Reglonal Medical Center, LLC
ame ,

76.

77.

78.

73,

Olflclal Form 206A/B

Potential Claim against Cardinal Health, Inc.
Amount: To Be Determined

Nature of claim Fraud/negligence
Amount requested

ET

Potential Claim against Quammen Health Care Consultants, Inc.
Amount: To Be Determined

Natura of claim .”, Fraudibreach of contract
Amount requested =|

 

Potential Claim against ESA Toxicology, LLC
Amount te be determined

Nature of clalm ’ Breach of contract
Amount requestéd

+ eeenerrrrremerniinsinaommniaennngecnene si?

Potential Claim against Siemens Financial Services
Amount! to be determined

Nature of claim - Breach of duty
Amount requested

 

Trusts, equitable or future interests In property

Case number {if known) _ 18-70043

Unknown

Unknown

Unknown

Unknown

Othor property of any ‘kind not already listed Examples: Season tickals, country club membership

Due from Texas Gulf Coast Medical System, inc.
Business Interruption insurance Claim Receivable
Amount: unknown

Total of Part 11.
Add lines 71 through 77, Copy the total to fine 90,

Unknewn

 

 

$880,000.00

 

 

Has any of the proparty listed in Part 14 been appraised by a professtonal within the last year?

wy No
rj Yes

Schedule A/a: Assets - Real and Personal Property page?

 

 
Case 19-70013 Document 27 Filed in TXSB on 02/14/19 Page 8 of 16

Debtor Bay Area Regional Medical Center, LLC Gase number (if known} _19-70043
Name ‘

In Part 12 copy all ofthe totals from the sarller parts of the form.

 

 

 

 

 

 

Type of property| Current vatua of Currant value of
porsonal property real proparty
80, Gash, cash equivatents, and financial assets. $89,501,92
Copy line 6, Pért 4.
Bf, Deposits and prepaymants, Copy ling 9, Part 2. 0.00
82, Accounts recelvable, Copy tne 12, Part 3, $4,134 ,782.00
83, Investments, Copy tine 17, Part 4. $0.00
84, Inventory. Copy line 23,-Part 5, $1,025,000,00
86, Farming and fishing-related assets. $0.00
Copy tine 33, Part 6. : *
86. Office furnitule, fixturas, and equipment; $0.00
and collectibles. Copy line 43, Part 7,
87, Machinery, equipment, and vehicles, $0.00
Copy line 6&7, Part 6.
86. Real property. Copy line 8, PATE Dresecotsensscerensarsensesessesvecesierenetennsenansccveesoe BP $0,00
89, Intangibles and intellectual property. 0,00
Copy ine 68, Part 10.
80. Allather assets, Copy iine 78, Part 11. +____ $860,000.00

 

 

 

 

 

 

$1. Total, Add line’ 80 through 96 foreach column, 91a. $6,096,283.92 |4 tb. $0.00

 

 

 

eo

92, Total of all property on Schedule A/B, Lines 91a + 91b = 2a resesevssneresnsnsees aereenees dsaneeareennireetsonseast $6,096,283.92

 

 

 

 

Offelal Form 208A/8 Schedule A/G: Agsets ~ Real and Personal Property page 8
Case 19-70013 Document 27 Filed in TXSB on 02/14/19 Page 9 of 16

  

Fill {n this Information to identify the case:

     
        

Deblor name Bay Area Ragional Medical Center, LLC

Unlted Slates Bankrupicy Court for the: SOUTHERN DISTRICT OF TEXAS

Case number  19-70013
(if known) ‘

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property 12/18

Be as complete and accurate as possible,

(] Check If this is an
amended filing

 

 

4, Do any craditors have claims secured by debtor's property?
No. Check this box and'submit paga 7 of this form to the court with debtor's other schedules, Debtor has nothing alse fo report on this form.
fw Yes. Fill in all of the Information below.

ula List Creditors Who Have Secured Clalms

2, List in-alphabetical order aii creditors who have secured claima, If a creditor has more
Ihan one secured claim, list the creditor separately for each clalm.

 

 

 

 

Craditer's name Resertbo debtor's property that Is

Banyan FCS SPE, LLC subject to a lion $44,993.78 $44,993.78
Creditor's malllng address Patlant accounts recelvahte

951 Yamoto Road, Ste, 160 Deseribe the lien

 

- Acct RD 12182013

 

is the creditor an Insider or related party?

 

 

 

BocaRaton  —ssFL_— 93434 Ry No

‘ 7 OO Yes
Gradittor's email address, If known

- Is anyone else liable on this claim?

Date dobt was Incurfad _ 6/29/2016 lj Ne
Last 4 digits of account [j Yes. Fillout Schedule H: Godebtors (Offlelal Form 206H)
number / As of the petition filing date, the claim is:
Do multipte creditors have an Interest in Check all that apply.
the same property? f-] Coatingent
[J Ne OC Unilquidated

T] Yes, Speclty each creditor, Including this [7 Dleputed
creditor, and Its relative pelorlly,

3. Total of the dollar amounts from Part 1, Column A, Including the amounts from the
Additional Page, {f any. $4,964,030,20°

Obllictal Form 2061 . Schedute D: Croditors Who Have Claiins Secured hy Property pago 1
Case 19-70013 Document 27 Filed in TXSB on 02/14/19 Page 10 of 16

Deblor Bay Area Regional Medical Genter, LLG Case number (if known) 19-70013

Additional Page

Copy this page only if more space Is navded, Continue numbering the lines
sequentially from the previous page,

 

   

 

 

 

 

 

 

 

3 |
Conostoga Equipment Finance subject to 8 ion $ property that $8,600.00 $0.00 :
Croditor's mailing addresa Medical equipment
1033 S.Hanove St. Doworlbe tho Hien
Loan
. Is the creditor an Insider or ralated party?
Pottstown PA 19466 I No
Craditor’s email address, if known [J Yes
is anyone else lable on this clalm?
Date debt was Incurred iy No
Last 4 digits of account [] Yes. Fill out Schedule H: Codeblors (Official Form 2061)
number __ AB of the pailltion filing date, the claim ts:
Do multiple creditors have an interest In Check all that apply.
the same property? C] Contingent
No ; Cc Unilquidated
Cy Yes. Have you already specified the fz] Disputed
relative priority?

[1 No. Specify each creditor, including this
creditor, and-its catative priorily,

Yes, The relative priority of creditors Is
spaolfied on tines

 

 

 

 

 

 

 

 

 

Graditor's name Describe debtor's property that Is
10-200 Blossom St. LLC subject to a tlen propery $2,889,600,00 $0,00
Creditor’s malling address Business interruption Ins, proceeds
4880 W, Kennedy. Blvd, Ste, 660 Describe the tlen
Loan

: Is the creditor an Insider or related party?
Tampa FL 33608 f7J No
Craditor's emall address, if known Yes

- ls anyone else Hable on this claim?

Date debt was Incurred fy] No
Last 4 digits of ace aunt [] Yes. Fill out Sohedule H: Codeblors (Offictal Form 206H)
number - ee AB Of the potition fling date, the claim Is:
Do multiple craditors have an Interest in Check all that apply.
the same proporty?. w Contingent
fz No . (C] Unliquidated

[7] Yes. Have you'alresdy specified the Li Olsputed
relative prlority?
No. Specify each creditor, Including this
craditor, and Its relative priority.

Yes. The relative priority of creditors fs
spatiffed on lines
4

Officlal Form 208D . Additional Page of Schedule D: Creditors Who Have Clalms Secured by Property page 2
Case 19-70013 Document 27 Filed in TXSB on 02/14/19 Page 11 of 16

r

Debtor Bay Area Regional Medloal Center, LLG Case number (If Known)

Additional Page

Copy this page only,if more-space |s neaded. Continue numbering the lines
sequentially from the pravious pags.

   

 

 

 

 

 

0 * i}
mM re cancers naannae emma
Craditor's malting address Accounts receivable
7670 Woodway Dr., Ste. 180 Describe the fen
* Bank account
; : 1s tho cyeditor an insidor or related party?
Houston -_ TX __77063 [J Ne

 

Creditor's email address, If known fa Yes
: Is anyone else flabte on this claim?

Date debt was incurrad 06/07/2013 [J No

 

Last 4 digits of account Mw Yes, Fill ou! Schedule H: Codebtors {Official Form 206H}
number ee AB OF the petition fillng date, the clalm Is:
Do multiple creditors have an Interest in Check all that apply.
the same property?. oO Contingent
No oO Unilquidated
Yes, Have you already specified the (J Disputed
ralative priority?

[1] No, Specify each creditor, Including this
cradilor, and its ratatlyva priority,

Yos. The relative priorily of creditors is
speciited on lines

i

Officla! Form 206D - - * Additional Page of Schodule D: Creditors Who Have Claims Secured by Property paga 3
Case 19-70013 Document 27 Filed in TXSB on 02/14/19 Page 12 of 16

Debtor Bay Area Regional Medical Center, LLC Case number (if known} 18-70013

List Others to Be Notified for a Debt Already Listed in Part 4

List in alphabotleat ordor any others who must be notified for a debt already tlated in Part 7, Examples of entities that may be
{Isted are collection agencles, assignees of claima Ilsted above, and attorneys for secured creditors,

 

If no others need to be notified for tha debts !Isted In Part 1, do not fll out or submit this page, If additional pages are neadod,
copy this pags. .

 

 

 

 

 

Name and address On which fine In Part 4 Last 4 digits of
did you enter the account number
related creditor? for this antity
Carter/Validus Operating Partnership, LP Line 2,3 ee
4890 W, Kennedy Bivd
Ste. 660
Tampa + ‘ FL 33609
,
ua
Officlal Form 2080 Parl 2 of Schedule D: Croditora Who Have Claims Secured by Property page 4
Case 19-70013 Document 27 Filed in TXSB on 02/14/19 Page 13 of 16

a!

 

Fill in this information to identify the case:

 

 

 

 

 

Debtorname Say Area Reglonal Medicai Center, LLC
United States Bankrupley Court for the: SOUTHERN DISTRICT OF TEXAS
Case number = 19-70013 Chapter __7 LD Cheok if this fa an
(if known) amended filing
Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases 12116

Be as complete and accurate as possible. If more space is needed, copy and attach the additonal page, numbering the entries

consecutively.

4, Does the debtor have any oxecutory contracts or unexpired loasos?

No. Check this box and file this form with the court wilh the debtor's olher schedules, There Is nothing else fo report on this form.
Yos. Fill in att of the information below even If tha contracts or lenges are listed on Schedule A/B: Assels ~ Real and Personal Properly

(Olficlal Form 2084/8),

2, List afl contracts and unexplrad leases

2.1 State what the contract
or tease Is for and the
nature of the debtor's
Interest .

State the term remaining

List the contract
number of any
government contract

2.2 State what the contract
or lease ts for and-tho
nature of the debtor's
interest .

State the term remalning

Liat the contract.
number of any
govarnmant contract

2.3 State what tho cantract
or laase Is for and:the
nature of the debtor's
interest - ‘

State the term remaining

List the contract
number of any
government contract

.
a

Olflelal Form 2066

Agreament - Identification of tax

overpayments

Unknowns

NIA

Patient records
Financial accounting
Contract ts In DEFAULT

 

NiA

Multifunction coplers/printers

Unknown

NIA

State the name and malling address for all other
parties with whom the debtor has an execttory
contract or unexpired lease

Agile Consulting Group, Ine.
600 Ironwood Dr.
Sulte 624

 

 

 

Ponte Vedra Baach FL 32082

Cerner Health Services
280 Rock Greek Parkway

 

 

 

Kansas City NiO 84117

Xerox Finanefal Services
45 Glover Ave,

 

 

 

Norwaik CT O8856

Sohedule G: Executory Contracts and Unexpired Leases page 1
Case 19-70013 Document 27 Filed in TXSB on 02/14/19 Page 14 of 16

     
      

Fill in this information to identify the case:

  

Deblor name Bay Area Regional Medical Center, LL

Uniled States Bankruptoy Court for the: SOUTHERN DISTRICT OF TEXAS

Case number 19-70013
(if known)

  

[] Check if this is an
amended [ling

 

Offictal Form 206H
Schedule H: Codebtors 4215

Be as complete and accurate as possible, If more space is ne adod, copy the Additional Paga, numbering the entries
consecutively, Attach the Additional Page to this page.

4, Does the debtor have any codebtors?
FJ No. Chack this box and submil this form to the court with the debtor's other schedules, Nothing else needs fo be reported on this form,

Yes

2, in Column 4, fst as codebtors all of the people or entities who are also [labie for any debts listed by the debtor In the
schedules of creditors, Schedules D-G, Include ail guarantors and co-obligors. In Column 2, identify the creditor fo whom the debl Is
owed and ach schedule on which the creditor Is fisled, H the codgbtor Is table on a debl to more (han one creditor, lst each creditor
separately In Column 2.

  
    

stoditor

site

Chack aif schedules

 

 

 

 

 

 

Name Malling address Name that apply:
2.4 Texas Gulf Coast — 260 Blossom, Ste. 259 Manfred Co,, LLC wo
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Otficlal Form 206H , Sohedule H: Cadebtors page 4

 
Case 19-70013 Document 27 Filed in TXSB on 02/14/19 Page 15 of 16

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Fill in this information to identify the case: ~

Debtor Name Bay Area Regional Medical Center, LLC

Unlted Slalas Bankrupicy Court for the: SOUTHERN DISTRICT OF TEXAS

Casa number (if known): 1419-70013

 

 

Official Form 206Sum

 

[] Check If this Is an
amended fiting

 

4a, Roak property:

 

Summary of Assets and Liabilities for Non-tndividuals 42/16
Eo Summary of Assets
4, Seheduie A/B: Assots--Real and Personal Property {Offliolat Form 206A/B)
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‘ib. Total personal property $6,096,283.92

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fc. Total of all property
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Summary of Liabilities

2, Schedule D: Creditors Who Have Claims Secured by Property (Clficlal Foren 206D}
Copy the tolal dollar amount fisted In Column A, Amount of claim, from IIna 3 of Schedule Du... eee

3,  Sohedtite E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F}

3a, Total claim amounts of priority unsecured clalms:
Copy the total claims from Parl 4 from Hae Sa Of Schedule EAP... scsssteseusssssesseenssssensesensertsensnannennsresserceerenerestngeas

3b, Total amount of claims of nonpriorlty amount of unsecured clalns:
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Official Form 206Sum ' Summary of Assets and Llabilltlos for Non-Indlividuals

 

 

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page 7

 
Case 19-70013 Document 27 Filed in TXSB on 02/14/19 Page 16 of 16

        
      
      

MTR ea tec ROLC Cae eet UC RUA ILL
Debtor Name Bay Area Regional Medica! Center, LLG
United Slates Bankruptcy Courl for the: SOUTHERN DISTRICT OF TEXAS

Case number 49-70013
(if Known)

Official Form 202.
Declaration Under-Penalty of Perjury for Non-Individual Debtors 12/16

 

 

An Individual wha Is authorized to act on behalf ofa non-indlvidual debtor, such as a corporation or partnership, must sign and
submit this farm for the schedules of assets and llabilitles, any other document that requires a declaration that Is not included
In the document, and any amendments of (hose documents. This form must state the Individual's position or relationship to
ihe debtor, the Identity of the document, and the dato, Sankruptey Rules 1008 and 9041.

WARNING -- Bankruptcy fraud Is a serious crime. Making a false statement, concealing property, or obtalning money or
proporty by fraud in connection with a bankruptcy cage can result In fines up to $800,000 or Imprisonment for up to 20 years, OF
both, 18 U.S.C. §§ 162, 1344, 1819, and 3571.

ma Declaration and signature

| am the president, another officer, or an authorized agant of the corporation; a member of an authorized agent of the partnership;
or another Individwal serving as a representative of ha debtor In this case.

 

| have examined the information In the documents chackod below and | have a reasonable bellef that the informatlon is true and
corract

Schedule A/S: Assets—Real and Personal Properly (Offlelal Form 206A/B}
Schedule 'D: Creditors Who Have Claims Secured by Properly (Offictal Form 206D)
Schedule EMF: Creditors Who Have Unseoured Glalins (Official Form 208E/F)
Schedule 'G! Exeoulory Coniracts and Unexpired Leases (Offictal Forma 206G)
Schedule H! Godeblors (Offlelal Form 2081)

A Summary of Assets and Liabilities for Non-individuals (Olficlal Form 206-Summary)

Amended Schedule

 

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Chapter 11 ‘or Chapler 9 Cases: List of Creditors Who Have ihe 20 Largest Unseeurad Clans and Aro Not Insiders
(Olflelal Form 204}

 

Fy} Olher document that requires a declaration

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Rick A. Zachardy
Printed name

Authorized Representative
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Official Form B202 Declaration Under Penalty of Perjury for Non-Individual Debtors
